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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION


VOIP-PAL.COM, INC.,
                      Plaintiff

v.                                                    CASE NO. 6:21-cv-00670-ADA

 APPLE INC.,

                      Defendant.

VOIP-PAL.COM, INC.,
Plaintiff

v.
                                                      CASE NO. 6:21-cv-00671-ADA
AT&T CORP., AT&T SERVICES, INC., and
AT&T MOBILITY LLC,
Defendants

VOIP-PAL.COM, INC.,
Plaintiff

v.

VERIZON COMMUNICATIONS, INC.;                         CASE NO. 6:21-cv-00672-ADA
CELLCO PARTNERSHIP dba VERIZON
WIRELESS; VERIZON SERVICES, CORP.;
and VERIZON BUSINESS NETWORK
SERVICES, INC.,
Defendants

                                              ORDER

            This Court, after considering the Combined Opposition of Apple, AT&T, and Verizon to

 VoIP-Pal’s Consolidated Application for Temporary Restraining Order and Motion for




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Preliminary Injunction, is of the opinion that VoIP-Pal’s Consolidated Application for Temporary

Restraining Order and Motion for Preliminary Injunction should be denied.

       IT IS ORDERED that VoIP-Pal’s Consolidated Application for Temporary Restraining

Order and Motion for Preliminary Injunction is DENIED.

       IT IS FURTHER ORDERED that the above-entitled and numbered cases are stayed until

the Northern District of California enters an order on the pending motions to relate and determines

whether to maintain jurisdiction in each of the following cases:

   •   Apple Inc. v. VoIP-Pal.com, Inc. (3:21-cv-05110)
   •   AT&T Corp., AT&T Services, Inc., and AT&T Mobility LLC v. VoIP-Pal.com, Inc. (3:21-
       cv-05078)
   •   Cellco Partnership d/b/a Verizon Wireless, Verizon Services Corp., and Verizon Business
       Network Services LLC v. VoIP-Pal.com, Inc. (5:21-cv-05275)


       SIGNED THIS             day of                , 2021.




                                             ALAN D. ALBRIGHT
                                             UNITED STATES DISTRICT JUDGE




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